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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

United States of America,           )
                                    )
              Plaintiff,            )        ORDER
                                    )
       vs.                          )
                                    )
Ronald Paul Yellow, Jr.,            )        Case No. 1:21-cr-235
                                    )
              Defendant.            )


       Defendant is in Marshals Services custody. He is being housed at the Washington County

Justice Center in Akron, Colorado. On March 15, 2022, he filed a Motion for Order Approving

Remote Evaluation. He has scheduled a remote evaluation with C & K Counseling on March 28,

2022, at 12:30 PM. He now asks that the court approve or authorize his evaluation.

       The court GRANTS defendant's motion (Doc. No. 71) authorizes his remote evaluation with

C & K Counseling.

       IT IS SO ORDERED.

       Dated this 16th day of March, 2022.

                                                   /s/ Clare R. Hochhalter
                                                   Clare R. Hochhalter, Magistrate Judge
                                                   United States District Court
